~ } ‘- )

O ye | €aselsel- Pope M Document 22 Filed 09/20/21 Page1of7 PagelD 72 °

a S24
a, “KK US DISTRICT COURT
NE IR THERN DIST. OF TX
FILED

IN THE UNITED STATES DISTRICT COURT,
FOR THE NORTHERN DISTRICT OF TEXAS0Z! SEP 20 AMII: 24
DALLAS DIVISION \V
LPUTY CLERK
UNITED STATES OF AMERICA

Vv. Case No. 3:21-CR-00226-M
RAYSHUN JACKSON

SUPERSEDING INFORMATION
The United States Attorney Charges:
Count One
Conspiracy to Commit Money Laundering
[Violation of 18 U.S.C. § 371]

1. Rayshun Jackson was a criminal defense attorney who had a practice
located at 1700 Pacific Avenue in Dallas, Texas.

he Person A was the leader of an organization that was responsible for large-
scale distribution of illegally-diverted opioids in Dallas, Texas. From September 2019
through February 2021, Person A was being investigated by the DEA and made a series
of illegal narcotics sales to DEA undercover agents. Person A was also a business
associate and former client of Rayshun Jackson.

3. From in or around May 5, 2020 to in or around March 22, 2021, in the
Dallas Division of the Northern District of Texas, the defendant, Rayshun Jackson,

Person A, and others known and unknown, unlawfully, willfully, and knowingly did

combine, conspire, confederate and agree with each other, to conduct and attempt to

Superseding Information - Page 1 of 7

 
Case 3:21-cr-00226-M Document 22 Filed 09/20/21 Page2of7 PagelD 73

conduct, financial transactions affecting interstate or foreign commerce, involving
property represented by a law enforcement officer to be the proceeds of a specified
unlawful activity, to wit: sale and distribution of controlled substances, with the intent to
conceal and disguise the nature, location, source, ownership and control of property
believed to be the proceeds of specified unlawful activity, in violation of Title 18, United
States Code, Section 1956(a)(3)(B).

4. It was a part and object of the conspiracy that Rayshun Jackson would
utilize his law practice to launder drug proceeds for an individual who Jackson thought
was a drug trafficker. It was also a part and object of the conspiracy that Jackson would
accept cash from this same drug trafficker, legitimize (“clean”) the money using
Jackson’s law firm and IOLTA accounts and return the money to the drug trafficker, via
wire transfers, to the drug dealer’s bank account. Jackson would perform this service for
the drug trafficker for an agreed-upon percentage of the laundered funds.

Overt Acts

> In furtherance of the conspiracy and to effect the objects thereof, Rayshun
Jackson and Person A committed, and caused to be committed, the following overt acts,
among others, in the Dallas Division of the Northern District of Texas, and elsewhere:

6. While selling hydrocodone to a DEA undercover agent, who posed as a
drug trafficker, on or about February 19, 2020, Person A agreed to introduce the DEA

undercover agent to an associate that Person A claimed could lauder the undercover

Superseding Information - Page 2 of 7

 

 
 

Case 3:21-cr-00226-M Document 22 Filed 09/20/21 Page3of7 PagelD 74

agent’s drug proceeds. At this time, Person A did not reveal his associate’s identity.

4: An additional conversation occurred between Person A and the undercover
agent on or about May 5, 2020, where Person A again confirmed that he would introduce
the undercover to Person A’s associate so that the associate could lauder the undercover
agent’s drug proceeds.

8. While selling hydrocodone to a DEA undercover agent on or about August
20, 2020, Person A again agreed to introduce the DEA undercover agent to the person
that Person A claimed could lauder the undercover agent’s drug proceeds. During this
meeting, Person A revealed to the undercover agent that the associate he was referring to
was Rayshun Jackson. Person A also assured the undercover agent that Jackson would
do the following with regards to the drug proceeds that the undercover agent wanted
laundered:

He’s gonna clean it.. He’s gonna wash it... He’s going to explain to you in

detail... I can’t... I don’t know the ends and outs... He’s the lawyer. I am going
to take you to him and when you get done, you’ll feel comfortable.

9. On or about September 3, 2020, the DEA undercover, posing as a drug
trafficker, was introduced to Jackson by Person A at a meeting in Jackson’s office at
1700 Pacific Avenue in Dallas, Texas. After Person A vouched for the undercover
agent’s trustworthiness, a discussion between Jackson and the undercover agent began
where Jackson explained how he could clean and make legitimate the undercover agent’s
‘Dope money.” Jackson counseled the undercover agent on differing ways to clean the

undercover’s drug proceeds, including the use of shell corporations and the setting up of

Superseding Information - Page 3 of 7

 
Case 3:21-cr-00226-M Document 22 Filed 09/20/21 Page4of7 PagelD 75

non-traceable cash business. The two negotiated Jackson’s laundering fees and Jackson
agreed he would be capable of laundering up to $500,000.00 a month. It was also agreed
that if the undercover’s organization decided to utilize Jackson’s services, a test run of
$100,000.00 would be conducted so that both sides could gain trust. After the test run
was successful, the amount would be increased.

10. | Onor about September 12, 2020, the undercover agent called Jackson and
confirmed with him that the undercover agent’s drug trafficking organization had decided
to utilize Jackson’s money laundering services.

11. Onor about September 24, 2020, the undercover agent called Jackson and
arranged to meet with him later that day, at his law firm, to deliver $100,000.00 in cash.
The agreement was that Jackson would take 5% of this cash up front as his fee
($5,000.00) and lauder the remaining $95,000.00 back to the undercover, who would
receive the money in an undercover bank account that’s number the undercover provided
Jackson. Later that day, the undercover handed $100,000.00 cash to Jackson in his
office at 1700 Pacific Avenue in Dallas, Texas.

12. On October 19, 2020, Jackson made an electronic transfer in the amount of
$35,000.00 from the Wells Fargo Bank account of “The Jackson Law Firm” to the DEA
undercover bank account.

13. On October 22, 2020, Jackson made an electronic transfer in the amount of

$35,000.00 from the Wells Fargo Bank account of “The Jackson Law Firm” to the DEA

Superseding Information - Page 4 of 7

 
 
 

Case 3:21-cr-00226-M Document 22 Filed 09/20/21 Page5of7 PagelD 76

undercover bank account.

14. On October 23, 2020, Jackson made an electronic transfer in the amount of
$25,000.00 from the Wells Fargo Bank account of “The Jackson Law Firm” to a DEA
undercover bank account.

15. | Onor about November 23, 2020, the undercover delivered $300,000.00
cash to Jackson in his office at 1700 Pacific Avenue in Dallas, Texas. The agreement for
this transaction was that Jackson would take 5% of this cash up front as his fee
($15,000.00) and lauder the remaining $285,000.00 back to the undercover, who would
receive the money in the same undercover bank account as before.

16. On December 7, 2020, Jackson made an electronic transfer in the amount
of $40,000.00 from the Wells Fargo Bank account of “The Jackson Law Firm” to a DEA
undercover bank account.

17. On December 16, 2020, Jackson made an electronic transfer in the amount
of $40,000.00 from the Wells Fargo Bank account of “The Jackson Law Firm” to a DEA
undercover bank account.

18. On December 22, 2020, Jackson made an electronic transfer in the amount
of $45,000.00 from the Wells Fargo Bank account of “The Jackson Law Firm” to a DEA
undercover bank account.

19. On December 31, 2020, Jackson made an electronic transfer in the amount

of $35,000.00 from the Wells Fargo Bank account of “The Jackson Law Firm” to a DEA

Superseding Information - Page 5 of 7

 
 
   
 

Case 3:21-cr-00226-M Document 22 Filed 09/20/21 Page6of7 PagelD 77

undercover bank account.

20. On January 14, 2021, Jackson made an electronic transfer in the amount of
$35,000.00 from the Wells Fargo Bank account of “The Jackson Law Firm” to a DEA
undercover bank account.

21. On January 26, 2021, Jackson made an electronic transfer in the amount of
$40,000.00 from the Wells Fargo Bank account of “The Jackson Law Firm” to a DEA
undercover bank account.

22. On March 4, 2021, Jackson made an electronic transfer in the amount of
$30,000.00 from the Wells Fargo Bank account of “The Jackson Law Firm” to a DEA
undercover bank account.

23. On March 12, 2021, Jackson made an electronic transfer in the amount of
$5,000.00 from the Wells Fargo Bank account of “The Jackson Law Firm” to a DEA
undercover bank account.

24. OnMarch 15, 2021, Jackson made an electronic transfer in the amount of
$5,000.00 from the Wells Fargo Bank account of “The Jackson Law Firm” to a DEA
undercover bank account.

25. On March 18, 2021, Jackson made an electronic transfer in the amount of
$5,000.00 from the Wells Fargo Bank account of “The Jackson Law Firm” to a DEA
undercover bank account.

26. On March 22, 2021, Jackson made an electronic transfer in the amount of

Superseding Information - Page 6 of 7
Case 3:21-cr-00226-M Document 22 Filed 09/20/21 Page 7of7 PagelD 78

$5,000.00 from the Wells Fargo Bank account of “The Jackson Law Firm” to a DEA
undercover bank account.

All in violation of 18 U.S.C. § 371 (18 U.S.C. § 1956(a)(3)(B)).

FORFEITURE NOTICE
[18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)]

Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), upon conviction of
any offense violating 18 U.S.C. § 371, the defendant shall forfeit to the United States of
America any property, real or personal, that constitutes or is derived from proceeds
traceable to the conspiracy. The property to be forfeited includes, but is not limited to:

« $7,705 in funds seized from Wells Fargo account ending 2379.

The property to be forfeited may take the form of a forfeiture money judgment.

The government may seek forfeiture of substitute property from the defendant,

pursuant to 21 U.S.C. § 853(p).

PRERAK SHAH
ACTING UNITED STATES ATTORNEY

CC he wank ile

 

COURTNEY L. COKER ITA FIELDEN

Assistant United States Attorney Assan United States Attorney
Texas State Bar No. 24062335 Texas State Bar No. 06965600

1100 Commerce Street, Suite 300 341 Pine Street, Suite 2101

Dallas, Texas 75242 Abilene, Texas 79601

Telephone: 214-659-8751 Telephone: 325-672-8160

E-Mail: Courtney.L.Coker@usdoj.gov E-Mail: Juanita.Fielden@usdoj.gov

Superseding Information - Page 7 of 7

 
